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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
VS.                                               §
                                                  § CRIMINAL NO. H-05-0492-5
HUY TAN NGUYEN,                                   §
                                                  §
Defendant.                                        §

                            MEMORANDUM AND ORDER

       Pending before the Court is Defendant’s motion for disclosure of the identity and

location of the government’s confidential informant.          After considering the parties’

filings and oral arguments, the Court finds that the motion, Docket No. 104, should be

and hereby is DENIED.

       This ruling is without prejudice to a subsequent motion by one or more of the

Defendants.    As the Supreme Court has made clear, a request for disclosure of an

informant’s identity “calls for balancing the public interest in protecting the flow of

information against the individual’s right to prepare his defense.” Roviaro v. United

States, 353 U.S. 53, 62 (1957). This Court may ultimately strike a different balance if

Defendant can adduce facts, such as those contemplated in Roviaro, to show that non-

disclosure is prejudicial to Defendant’s trial preparation.




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    IT IS SO ORDERED.

    SIGNED at Houston, Texas, on this the 27th day of February, 2006.




                  KEITH P. ELLISON
                  UNITED STATES DISTRICT JUDGE



           TO INSURE PROPER NOTICE, EACH PARTY WHO RECEIVES
            THIS ORDER SHALL FORWARD A COPY OF IT TO EVERY
           OTHER PARTY AND AFFECTED NON-PARTY EVEN THOUGH
               THEY MAY HAVE BEEN SENT ONE BY THE COURT.




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